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UNITED STATES DISTRICT COURT FOR
THE CENTRAL DISTRICT OF CALIFORNIA
Case No.:_CV 14-4388 RGK-RG
CORWIN D. JACKSON,
Plaintiff, NOTICE OF DISMISSAL

VS.

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)
)
)
WINDHAM PROFESSIONALS, INC.
)
)

Defendant

 

ORDER OF DISMISSAL WITH PREJUDICE

The dispute between the parties has been settled, therefore, the claims asserted by
Plaintiff, CORWIN JACKSON, against Defendant, WINDHAM PROFESSIONALS, INC.
in the above-captioned proceeding are hereby dismissed, with prejudice, with each side to bear it’s own

attorneys’ fees and costs. Pursuant to Fed. R. Civ. P. 41(a)(1).

Summary of Pleading - 1

 
